CW-l

T. BLAKE

CW-l

'l`. BLAKE

CW-l

'I`. BLAKE

447.

Sure.

[inaudible] He-he was great So I’ve effectively, you know, evaded both,
you know, answering anything there. So we’re good.

Okay, Well, again on our side, from my side I just want to make sure
because the, you know, I’m not goingto tell the IRS that essentially we did
this [for your daughter] and-- and it was, it Was [yom' daughter] getting in
through Donna Heinel and Women’svolleyball.

Right.
[inaudible] payment and that was the payment.

Mm-hmm.

In the call, TODD BLAKE also acknowledged that his daughter Was not a

legitimate volleyball recruit:

CW-l

T. BLAKE

CW-l

T. BLAKE

CW-l

T. BLAKE

CW-l

T. BLAKE

CW-l

T. BLAKE

CW-l

[Inaudible] what I was going to Say was the funny thing is, Donna calls me
and says, “Hey, [CW-l],that profile you did for [the BLAKES’ daughter]
was awesome so any, woman, girl that you have that is going to come in--’

Oh good.

“~-the same way, that isn’t good enough to play Volleyball here--”
Right.

“--and you’re going to make a payment for--”

Mm-hmm.

“-~follow that same profile that you did for [the BLAKES’ daughter].”
Oh, good. So did she get audited as well?

No, no, I’m g-- I’m the [one getting] audited, I’m getting audited.
Okay.

Nobody else is getting audited.

174

448.

Finally, TODD BLAKE asked CW-l what he should say in the event that the IRS

called him to discuss the payments.

T. BLAKE

CW-l

T. BLAKE

CW- 1

T. BLAKE

CW-l

T. BLAKE

CW-l

T. BLAKE

449.

And will I get contacted, and if so how would you like me to answer?

Great, that’s perfect, so what I want you to say is that your money went to
our foundation, which it did.

Yeah. Okay.

And it helped underserved kids.

Yeah.

You made a donation to help underserved kids.
Right. Okay, good.

All good?

Yeah, sounds great.

In a call on or about Pebruary 22, 2019, CW-l, at the instruction of law

enforcement agents, told DIANE BLAKE that USC had received a subpoena for athletic records

for the past 12 years. The following is an excerpt from the conversation, which was consensually

recorded.

CW-l

D. BLAKE

CW-l

D. BLAKE

CW-l

So, so USC, they Were subpoenaed for all athletes’ records for the past 12
years. That’s a lot of kids.

Yeah.

Okay. So my contacts at USC called me kind of to give me a heads up.
And since [your daughter] was accepted through volleyball, but Wasn’t
really a volleyball player in reality at [the] USC level--

Yeah.

--I just wanted you to know that they-- I mean it could be absolutely

nothing, because it’s thous-- you know, it’s a lot of folks. But [your
daughter] is one of those that got in With you guys making a payment. You

175

D. BLAKE

CW-l

D. BLAKE

CW- 1

D. BLAKE

CW-l

D. BLAKE

CW-l

D. BLAKE

CW- 1

D. BLAKE

CW- 1

D. BLAKE

CW- l

D. BLAKE

CW-l

D. BLAKE

know the 50,000 to USC Women’s athletics directly, and then 200 to my
foundation

Right.

That was payment to get her in.

Right.

So I just wanted you to know that if they ask for the records--
Oh my god.

--don’t know if anything is gonna ever come about it but I just wanna
make sure everybody is aware.

So what does'that mean?

I think that they’re the-- Whoever it is that subpoenaed the records is
looking at, kind of, all the athletes and how the process works and What
happens over-- but it’s, you know, it’s a long time. So I have, I have no
idea to be frank with you. 'I`hey just told me, “Hey, just a heads up you
have a lot of kids that went through the side door here. Just want you to

be aware of it.” That’s all. lt may be nothing, who knows, so I just wanted
you to be aware.

Hmm. So, wow. Okay. Okay, gotcha. Like, should I be concerned?

No, l don’t think so. l mean, it’s, it’s a lot of years and a lot of kids and a
lot of sports.

Right.

So it may not have anything to do with anything I just-- I, l just wanted to
make sure that everybody is aware.

Okay. Like [inaudible]

Okay.

--in case we got a ca11 or Something?
Yes. Yeah.

Okay.

176

CW-l Which I doubt.

D. BLAKE Okay. Well I will let you know if we do of course.

CW-l Okay.

D. BLAKE Yikes. Right. I mean, [our daughter] doesn’t even know, you know?
CW-l No. No, I know that.

U. PETER JAN “P.J.” SARTORIO

450. Defendant PETER JAN “P.J.” SARTORIO is a resident of Menlo Park,
California. SARTORIO is a packaged food entrepreneur.

451. As set forth below, SARTORIO agreed to participate in the college entrance exam
cheating scheme by paying CW-l $15,000 in cash in or about June 2017 to have CW-2 purport
to proctor the ACT for SARTORIO’s daughter, and correct her exam answers.

452. On or about May 8, 2017, ACT, lnc. notified SARTORIO’s spouse via e-mail that
SARTORIO’s daughter had been approved for extended time on the ACT exam. SARTORIO’s
spouse forwarded the notification to SARTOR_IO, CW~l and Sanford, noting, “Yay, she was
approved!”

453. On or about May 18, 2017, CW-l forwarded SARTORIO’s daughter’s ACT
information to Dvorskiy, writing, “New student.” Dvorskiy responded by attaching a completed
form requesting that SARTORIO’s daughter be permitted to take the ACT at the West
Hollywood Test Center instead of at her own high school. ACT, Inc. authorized the move on or
about May 31, 2017.

454. CW-Z flew from Tampa to Los Angeles on or about June 9, 2017_the day before

SARTORIO’s daughter took the ACT exam at the West Hollywood Test Center. CW-2 returned

to Tampa on or about June l 1, 2017, the day after the exam.

177

455. On or about June 12, 2017, CW-l caused KWF to issue a check in the amount of
315,600 to CW-2, representing payments for the ACT exams that CW-2 purported to proctor for
SARTORIO’s daughter and the ISACKSONS’ daughter (discussed above).

456. As noted, SARTORIO paid CW-l $15,000 in cash for the ACT scheme. Bank
records indicate that SARTORIO withdrew a total of $15,000 in cash in three separate
transactions between on or about June 16, 2017 and on or about June 20, 2017.

457. SARTORIO’S daughter received a score of 27 out of a possible 36 on the ACT,
which placed her in approximately the 86th percentile. Although she had not previously taken
the ACT, she had previously earned scores of 900 and 960 out of a possible 1600 in successive
administrations of the PSAT, which placed her between the 42nd and 51 st percentile for her
grade level.

458. On or about October 25, 2018, CW-l answered a ca11 from SARTORIO at the
direction of law enforcement agents, and told him that KWF was being audited by the IRS. The
following is an excerpt from the call, Which was consensually recorded.

CW-l So let me just-- the reason Why I was calling you is because-- I’m in
Boston. And one, I Wanted to check in on [your daughter]. And then the
other thing I wanted to let you know is, which is so typical, so my
foundation is getting audited now-- which is, as you know, pretty natural.

SARTORIO Yeah?

CW-l So they’re looking at all my payments, everything that’s come into our
group, and all of those kinds of things. So I just wanted to make you
aware, but, y-- ’cause they’re asking about everything that-- every family
that was involved with us, every payment that’s ever come to us, all that
kinda stuff. So one of the big things is that, you know, because [CW-Z]
took the test for [your daughter], I just want to make sure that-- when the
IRS talks to me about, you know, what’s happened with [your daughter]
and the Sartorios, I’m not gonna say anything about [CW-Z] taking the test

for [her]. I’m essentially going to just say that monies that came in to us
just went in to us to take care of you know, all the normal fees --

178

SARTORIO

CW-l

SARTORIO

CW-l

SARTORIO

CW-l

SARTORIO

CW-l

SARTORIO

CW-l

SARTORIO

CW-l

SARTORIO

CW-l

SARTORIO

CW-l

SARTORIO

Uh_
--that occur for taking care of families. Because, of course, you guys--
Uh__

--you won’t show up on my books, because you paid cash, essentially, for
her to take the test with [CW-2].

Right.

So that doesn’t show up. Right?

Right.

Right. So I-- all I want you to do is just-- ’Cause I could see, at some
point, they’re gonna call some families. And I just wanted to make sure
that I remind you tha--

Oh-- oh, yeah. You do-- no. No, no. Yeah. I shouldn’t say-- Absolutely.
Believe me. There Would be no-- there would be no mention of that.
’Cause that’s never happened. There’s no record of-- All I know is I-- I-- I
paid bills that were sent to me, invoiced. '

Uh--

Those were paid.

Uh--

That’s all Iknow. That’s all we did. And [my daughter] took a test. And
that’s all I know. I don’t know of anything else. So.

Okay. Well, again-- and obviously, because you paid in cash, we do-- there
was n-- you didn’t takea write-off of that. So--

No.

Okay. Okay. Again, I just want to make sure that our stories are correct
Because it’s some--

There is no-- no-- there is no record on my end like a 1040. There is
nothing on my end that shows that your company, [CW-l], or anybody,
received any cash payments Only payments they could look at would be l
an invoiced amount or an actual check. And that’s what w-- that was

179

already discussed. But anything that was done verbally, that was verbal
and there’s no record. There’s nothing There’s nothing.

CW-l Got it.
SARTORIO [inaudible] Got it.
CW-l Got it. Okay. I just-- I just Wanted to touch bases with you. Because, you

know, all the audit stuff is coming in. And I have no idea where they’ll go
or where they won’t go, as you know.

SARTORIO Yeah.
CW-l So I just wanted to touch bases.
SARTORIO Yeah. What-- what you-- what you do is up to you. I gave-- Yeah. There’s

no--no-- Yeah. We’re good.
V. TOBY MACFARLANE

459. Defendant TOBY MACFARLANE is a resident of Del Mar, California. During
the relevant period, MACFARLANE was a senior executive at a title insurance company.

460. As discussed below, MACFARLANE participated in the college recruitment
scheme by agreeing to use bribery to facilitate the admission of his daughter to USC as a
purported soccer recruit and, later, his son as a purported basketball recruit

461. On or about October 3, 2013, CW-l e-mailed MACFARLANE’s daughter’s high
school transcript and SAT scores to Khosroshahin and Janke, writing, “1st of 2 players.”

462. On or about October 17, 2013, CW-l caused KWF to wire $50,000 to a private
soccer club controlled by Khosroshahin and Janke.

463. On or about October 25, 2013, Janke e-mailed CW-l requesting “a profile and list
of current work in progress” for MACFARLANE’s daughter because Janke needed “to turn in
everything by Monday” for her to be presented to the USC subcommittee on athletic admissions

on November 4, 2013. CW-l sent Janke information on MACFARLANE’s daughter’s high

180

school courses as well as a soccer profile, which included a photo of MACFARLANE’s daughter
playing soccer that MACFARLANE’s spouse had previously sent to CW-l.

464. MACFARLANE’s daughter’s USC application falsely indicated that she was,
among other things, a “US Club Soccer All American” in the 10th, llth, and 12th grades.

465. On or about September 17, 2013, CW-l e-mailed MACFARLANE and his
daughter a draft application essay, which stated: “On the soccer or lacrosse field l am the one
who looks like a boy amongst girls with my hair tied up, arms sleeveless, and blood and bruises
frorn head to toe. My parents have a hard time attending my soccer matches because our
opponent’s parents are always making rude remarks about that number 8 player who plays
without a care for her body or anyone else’s on the field. It is true that I can be a bit intense out
there on the field.”

466. MACFARLANE’s daughter was presented to the USC subcommittee for athletic
admissions on or about November 4, 2013, and formally admitted to USC the following spring,
with an admissions letter mailed to her on or about March 26, 2014.

467. On or about April 14, 2014, in an e-mail addressed to MACFARLANE’s daughter
but sent to MACFARLANE, the NCAA Eligibility Center noted that she needed to complete her
NCAA eligibility paperwork. MACFARLANE forwarded the e-mail to CW-l the following
day, asking, “Is this something [my daughter] needs to do?” CW-l responded to
MACFARLANE, “I believe we did it but I will check.” CW-l also forwarded the e-mail to
Masera, asking, “Have you contacted him about the 200k for [MACFARLANE’s daughter] and
USC?”

468. That same day, Masera sent MACFARLANE an e-mail with the subject line

“Placement Fees $200K,” stating that he would be coordinating the placement fees for

181

MACFARLANE’s daughter and asking how MACFARLANE would be transmitting the
payment On or about April 17, 2014, MACFARLANE sent CW-l an e-mail with the subject
line “Real Estate Consulting lnvoice,” asking CW-l to “provide an invoice for the entire amount
due.” Or'i or about May 2, 2014, MACFARLANE issued a $200,000 check to CW-l ’s for-profit
entity, The Key, with “Real Estate Consulting & Analysis” written in the memo line.
Approximately ten days later, on or about May 12, CW-l caused The Key to issue a 3100,000
payment to a private soccer club controlled by Khosroshahin and Janke.

469. In or about the summer of 2014, a USC athletics academic counselor e-mailed
MACFARLANE’s daughter regarding her fall 2014 class schedule, asking her to change her
Friday classes because she would be missing most Fridays “due to travel or games.” The e-mail
was copied to the newly appointed head coach of women’s soccer at USC, MACFARLANE’s
daughter forwarded the e-mail to MACFARLANE, asking whether she needed to respond.
MACFARLANE forwarded the e-mail chain to CW-l, asking for his advice. CW-l responded:
“Has the program reached out to you to discuss anything yet? The new coaches have been on
board for a while. If you speak to them let them know that [your daughter] has an injury -
Plantar Fasciitis and will not be practicing or playing for a while[.]”

470. On or about August 15, 2014, the newly appointed head coach of women’s soccer
at USC responded to the e-mail from the academic counselor, noting, “[MACFARLANE’s
daughter] doesn’t play for us.” The coach then e-mailed MACFARLANE’s daughter directly:
“I’m sorry but I don’t have you on my list of players. Could you contact me asap please.” The
coach also e-mailed a member of the USC athletics department that “[MACFARLANE’$
daughter] was on the list from the coaches, but l don’t know who she is and [she] is not counted

in my numbers.”

182

471. MACFARLANE’s daughter matriculated at USC in or about the fall of 2014 and
graduated in 2018. She did not play soccer at USC.

472. On or about October 8, 2016, CW-l made the following note in his phone:
“[MACFARLANE’s son] - USC 250 - 50 Donna[.]”

473. In an e-mail on or about November 15, 2016, CW-l asked MACFARLANE’s
spouse for a photo of MACFARLANE’s son playing basketball in his high school basketball
uniform. MACFARLANE’s spouse responded that she would take the photo and send it.

474. On or about November 27, 2016, CW-l directed Janke to create a fabricated
basketball profile for MACFARLANE’s son. The basketball profile created by Janke falsely
listed MACFARLANE’s son’s height as 6’1” and indicated that he played on his high school’s
varsity basketball team from 2014 through 2016. In fact, records from MACFARLANE’s son’s
high school indicate that MACFARLANE’s son did not play on the varsity basketball team until
his senior year. And a personal statement for MACFARLANE’s son, drafted by CW-l but
ultimately not submitted to USC, described how he knew that his height (5’5”) would be a
detriment to making his high school’s varsity basketball team.

475. CW-l e-mailed the athletic profile to Heinel, along with MACFARLANE’s son’s
high school transcript and SAT scores, in or about December 2016. Heinel presented
MACFARLANE’s son to the USC subcommittee for athletic admissions on or about January 26,
2017.

476. On or about February 9, 2017, USC issued a letter to MACFARLANE’s son,

' notifying him of his conditional admission to USC as a student athlete. The letter stated, “Your
records indicate that you have the potential to make a significant contribution to the

intercollegiate athletic program as well as to the academic life of the university.”

183

477. On or about February 13, 2017, MACFARLANE wrote a $50,000 check payable
to USC Athletics. The memo line of the check reads, “[MACFARLANE’s son] Women Athletic
Board.”

478. USC issued a formal acceptance letter to MACFARLANE’s son on or about
March 23, 2017. On or about April 18, 2017, MACFARLANE paid CW-l $200,000 via a check
to the KWF charity. MACFARLANE wrote “Real Estate Consulting” in the memo line of the
check.

479. MACFARLANE’s son attended USC briefly, but withdrew in or about May 2018.

'He did not play basketball at USC. 7

480. On or about October 26, 2018, CW-l called MACFARLANE at the direction of
law enforcement agents and told him that KWF was being audited by the IRS. The following is
an excerpt from the call, which was consensually recorded.

CW-l So, of course, my foundation is being audited now.
MACFARLANE » Okay.

CW-l Because we have so many hundreds of, you know, folks who have made
kind donations to our foundation sol wanted to make sure--

MACFARLANE Yes.
CW-l --that you were aware--
MACFARLANE Okay.

CW-l --and [inaudible] they’re looking at in the-- $400,000 payments that have
been made over the years. And so I just wanted you ‘to know tha -- that I’m
not going to tell the IRS that, you know, the-- the first $200,000 that was
paid to get [your daughter] into school through soccer. So I’m not going to
say anything about that and I’m not going to say anything about the
$200,000 essentially paid to USC for [your son] to get in through-- to Donna
Heinel to get in through men’s basketball So I just--

MACFARLANE Right.

184

CW- 1

MACFARLANE

CW-l

MACFARLANE

CW-l

MACFARLANE

CW-l

MACFARLANE

CW-l

MACFARLANE

CW-l

MACFARLANE

CW-l

MACFARLANE

CW-l

MACFARLANE

CW-l

MACFARLANE

CW-l

MACFARLANE

I just wanted you to know that what-- what l’m-- are you okay with that?
That you’re not going to tell them that?

That is correct.

Yeah, and I think that’s the-- the proper tact, for sure.

Okay. So what we’ll--

Do you think-- do you think-- are you expecting me to get some backlash
on that or-- `

No, don’t-- no, right.

Okay.

[inaudible] there’s-- there’s hundreds of people involved. Hundreds.
Okay.

And--

Okay.

--I’m just trying to connect with folks just to say, “Hey, I-- I-- you know,
this is what really happened, right?”

Yeah.

Like [your daughter] got in and [your son] got in and they’re really not
collegian athletes--

Yes.
--but we-- we made it work through, you know, Donna Heinel in soccer and
basketball and USC athletics, but l don’t want-- l want to make sure that

you guys don’t say anything to contradict what I’m going to say, which is
that your $400,000 helped-- was funded-- paid to my foundation.

Right.
And that we help underserved kids and that’s why you gave the money.

Yeah. Okay.

185

CW-l And then--
MACFARLANE Sure. Yeah, good. We’re on the same page.
CW-l You okay with that?

MACFARLANE Yeah, completely.

CW-l Okay.

MACFARLANE Imean, I-- 1 actually wro-- l wrote it off as-- as a consultant-- a consultant
fee but--

CW-l Okay.

MACFARLANE Yeah. But I-- if-- if it doesn’t ever, you know, come back that far then it
shouldn’t be aproblem.

CW-l Right, right.

W. STEPHEN SEMPREVIVO

481. Defendant STEPHEN SEMPREVIVO resides in Los Angeles, California.
SEMPREVIVO is an executive at a privately held provider of outsourced sales teams, based in
Agoura Hills, California.

482. As discussed below, SEMPREVIVO agreed to bribe Ernst, the Georgetown tennis
coach, to designate his son as a tennis recruit_despite the fact that he did not play tennis
competitively-in order to facilitate his admission to Georgetown.

483. On or about August 19, 2015, CW-l sent SEMPREVIVO, his spouse and their
son an e-mail with the subject line “Dear Coach Ernst.” CW-l instructed SEMPREVIVO’s son:
“[P]lease send this note and a PDF of transcripts and test scores to Gordie Ernst Mens’ Tennis at
Georgetown U from your email-then let me know it is done.” The note drafted by CW-l and set
forth below included fabricated representations about the SEMPREVIVO’s son’s purported

tennis experience and prior contacts with Ernst.

186

Dear Coach Ernst

l wanted to update you on my summer doings. After your suggestion I have
played very well with terrific success in Doubles this summer and played
quite well in singles too.

I am looking forward to having a chance to play for you. Our conversations
have inspired me to try to dominate my competition this summer.

Senior year is about to start and you can count on me to achieve great grades.
Thanks for the chance to play for you and Georgetown University.

484. SEMPREVIVO’s son e-mailed the note to Ernst, as instructed, later that same
day, along with his high school transcript and SAT scores.

485. Emst forwarded the e-mail the following day to a member of the Georgetown
admissions staff, who responded, “looks fine.” Ernst then e-mailed the admissions officer to
“confirm” that he had used three of his allocated admissions “spots”_one for SEMPREVIVO’s
son and, unbeknownst to the admissions officer, two for other clients of CW-l--and that he still
had three more spots left to fill.

486. On or about August 26, 2015, CW-l made the following notation in his e-mail
account: “Semprevivo 400 Gtown.”

487. On or about October ll, 2015, CW-l e-mailed SEMPREVIVO and his son an
“activity” essay for inclusion in his Georgetown application The subject line of the e-mail
stated, “This is the Final for Activity for Gtown USE THIS ONE.” The essay read, in part:
“When I walk into a room, people will normally look up and make a comment about my height -
I’m 6’5 - and ask me if l play basketball With a smile, l nod my head, but also insist that the
sport I put my most energy into is tennis.” -

488. SEMPREVIVO’s son’s Georgetown application falsely indicated that he played

tennis during all four years of high school and Was ranked in singles and doubles tennis. The

187

application further listed SEMPREVIVO’s son as a “CIF Scholar Athlete” and “Academic All
American” in tennis and basketball and stated that he made the “Nike Federation All Academic
Athletic Team” in tennis. College applications submitted by SEMPREVIVO’s son to schools
other than Georgetown did not reference tennis. Records obtained from the United States Tennis
Association do not include any match records for SEMPREVIVO’s’ son.

489. On or about November 6, 2015, Georgetown sent SEMPREVIVO’s son a letter
noting that “[t]he Committee on Admissions has conducted an initial review of your application
to the Class of 2020 at the request of Mr. Gordie Emst, Tennis Coac ” and that “the Committee
has ranked your admission as ‘likely.”’ The letter explained that candidates rated “likely” have a
greater than 95 percent chance of being admitted to Georgetown and that SEMPREVIVO’s son
would receive a final decision by April l, 2016.

490. On or about April 22, 2016, after SEMPREVIVO’s son was granted formal
admission to Georgetown, a KWF employee e-mailed SEMPREVIVO and his spouse an invoice
in the amount of $400,000 for their purported “Private Contribution” to KWF. On or about April
28, 2016, the SEMPREVIVO Family Trust issued a check to KWF in the amount of $400,000.

491. CW-l made numerous payments to Emst from the KW'F account into which the
SEMPREVIVO family made their donation. Between on or about September 11, 2015 and
November 30, 2016, CW-l caused KWF to issue checks to Emst totaling $950,000, representing
payments for the purported recruitment of SEMPREVIVO’s son and the children of other clients
of CW-l.

492. SEMPREVIVO’s son matriculated at Georgetown on or about the F all of 2016.

Since enrolling at the university, he has not joined the tennis team.

188

493. On or about October 25, 2018, CW-l called SEMPREVIVO’s spouse at the
direction of law enforcement agents and told her that KWF was being audited by the IRS. The
following is an excerpt from the call, which was consensually recorded.

CW-l Well, I wanted to touch bases because I wanted to let you know tha -- so
my foundation is being audited, which is, you know, very typical.

SPOUSE Uh-huh.

CW-l Because we have so many families that have made payments to our
foundation So I just wanted to make sure that-- they’re looking at the
payments and they looked at your gu -- your family’s $400,000 payment,
that was made for [your son]. So I wanted to make sure that we were on
the same page as I talk to the IRS.

sPoUsE okay.

CW-l Of course, I’m not go-- I’m not-- I am not going to say anything about--
that your payment went to help [your son] get into Georgetown, and the
payment was made to Coach Gordie Emst and Georgetown tennis and
obviously [your son] wasn’t atennis player. So I’m not going to talk about
that at all. What--

SPOUSE Okay.

CW-l What-- is that okay?

SPOUSE Yeah. No, I_yeah. And I think I would want maybe Stephen to talk to
you as well.

CW-l Okay. And just so you know, so-essentially what I’m going to tell the

IRS is that your $400,000 payment was made to our foundation to help,
you know, serve underserved kids that-- that we do with our foundation

SPOUSE Okay. That’s-- that sounds good. t

CW-l Right. And tha -- and that’s what we want, because obviously we’re not
going to say anything about, you know, [your son] going in through
Gordie Emst and thepayment being made to Gordie and then through
Georgetown tennis. So I just want to make sure that you and I are, and
Stephen, are on the same page. You can just--

SPOUSE Okay.

189

CW-l

SPOUSE

CW-l

SPOUSE

CW- 1

SPOUSE

--know that I will be stating that the payment was made to our foundation
and-- but you may get-- somebody may reach out to you. Somebody may
not. We have so many families that have-- that have made payments
through our foundation. So I wouldn’t worry about it at all.

Okay. Thank you.

You’re very welcome. I just-- just wanted to make sure that we were on
the same page.

Okay. Stephen might just give you a call bu -- but yeah. That seems pretty
straightforward

Okay. That’s all. I just wanted to touch bases.

Okay. Okay. Thanks, [CW-l].

494. On or about December 3, 2018, CW-l called STEPHEN SEMPREVIVO at the

direction of law enforcement agents and told him that he wanted to provide an update on the IRS

audit. The following is an excerpt from the conversation, which was consensually recorded.

CW- l

SEMPREVIVO

Cw-i

SEMPREVIVO

CW-l

Well, thanks for letting me call you. I-- l talked to [your spouse], but I just
want to give you an update. So they’ve been doing an audit on my
foundation.

Okay.

And they’ve finally now kind of picked-pegged out some stuff. So they
keep-- you know, they’re going-- l think they may call all the folks that
we, helped get into Georgetown.

Um-hmm.

And so I just wanted to make sure that we were all on the same page that--
because I’m sure that m -- I don’t know if they’re going to call you, but it
sounds like they’re going to call all these folks, because we have probably
15, 20 folks over the coup-- last couple of years that have gotten in, and so
l essentially-- you know, I’ve told them my-- I’ll tell you what l have not
told them. I did not tell them that [your son] was-- that he got in through
tennis and that he wasn’t a tennis player, but that you guys made a
payment to Gordie Emst in Georgetown tennis. I didn’t say that. l just
essentially said that [your son] got in through one of my relationships at
Georgetown and just left it at that, and that you guys made a donation to
our foundation to help underserved kids. And I just used one of my

190

SEMPREVIVO

CW-l
SEMPREVIVO

CW-l

SEMPREVIVO

CW-l

relationships And it Wasn’t anything to do with that he was or wasn’t a
tennis player, which he wasn’t. So l just wanted you to know that in case
they ca11 you.

Okay. Yeah. Yeah. You know, however you-- tha -- tha -- that, you know,
we donate to the-- we donated to the, you know, foundation lt does great
Work and, you know-- and, you know, we appreciate, you know, any help
outside of that tha -- that we got from you. So, you know--

Perfect. That-- that’s all I Wanted you to know, so in case they call,
because these people that audit-- I’m sure you’ve been audited before.
They-- they’re-- they’re-- they have no mercy.

Um-hmm.

So I just wanted you to be aware, in case you gota call.

Yeah. Yeah. They-- and-- and-- and, my experience has been they like
to do stuff in a-- and-- and, you know, send you documents and have you
kind of do something in writing and-- and we’ll see what happens in terms

of the --

Okay.

495. On or about March 3, 2019, CW-l Spoke with SEMPREVIVO again at the

direction of law enforcement agents. CW-l advised SEMPREVIVO that Georgetown was

conducting an internal investigation to determine why students who were not tennis players had

been admitted to Georgetown through Ernst. The following is an excerpt from the call, which

was consensually recorded.

CW-l

SEMPREVIVO

CW-l

So, l got a ca11 this morning from the-- my Georgetown people and they
said that they were doing an internal investigation because Gordie Ernst,
who was the men.’s and Women’s tennis coach when [your son] got
admitted, they’re doing an internal investigation to figure out why all these
kids got in that were not tennis players, like [your son]. Right?

Okay.
So, I’m-- so I just wanted you to know. I don’t know what the impact will
be or anything but it’s just internal and it’s all about, “So why didn’t, you

know, all these kids, like [your son], who Weren’t tennis players, didn’t
come out for the team and where are they now and what’s going on.” So,

191

since he wasn’t a tennis player they’re looking at, you know, all the kids
that just didn’t come out and 1 just didn’t-- want to make sure you knew,
because he wasn’t a tennis player tha -- l don’t know if anything will
come out of it. But just-- I wanted you to be aware of it that, that’s what,
that’s what they’re looking at internally.

SEMPREVIVO Okay.

496. SEMPREVIVO then asked CW-l questions about the Georgetown investigation
and the IRS audit of KWF. With respect to Georgetown’s internal investigation, SEMPREVIVO
asked CW-l if he knew “how many kids they’re investigating” and whether the university would
be contacting SEMPREVIVO’s son directly. When CW-l again noted that SEMPREVIVO’s son
was not a tennis player, SEMPREVIVO responded: “I’m just gonna, I’m just gonna, um, you
know I think that [inaudible].” At that point, the call disconnected

497. SEMPREVIVO called CW-l back moments later and said that he did not feel
comfortable continuing the discussion He said: “Hey, [CW-l], I, you know I don-- you know,
whatever you do, you do. You know? I really don’t feel comfortable talking to you about this
stuff in terms of, kind of, you know, in terms of, in terms of, kind of your-- your, you know, your
dealings.” SEMPREVIVO then denied knowing that his son was admitted to Georgetown
through Ernst. The following is an excerpt from the conversation
SEMPREVIVO You know, all I know is that we, you know, we used you for the charity

stuff and we used you for the counseling, and your dealings are your

dealings. And so, you know.

CW-l No l get that And I understand that, but at the same time we were all a
part of--

SEMPREVIV 0 No, I don’t agree with that at all. You--

CW-l You don’t agree that we got him in through tennis and you didn’t know
that [inaudible]?

SEl\/lPREVlVO l don’t. l don’t. l do-- you know, you did what you did, [CW-l], and that
was your stuff. Okay? So--

192

cW-1 okay.

SEMPREVIVO --I think, l think that that’s how, you know, you did what you did and so
I’m not going to take accountability for your actions and I think that, you
know, you need to be accountable for [inaudible]--

CW-l And I’m-- absolutely. I’m totally accountable that I got him in through
tennis and that you guys were aware of it, but I’m totally aware of it and
I’m totally-- accept the responsibility that I used my relationship and made
[your son] a tennis player. And we all agreed that that’s what we were
going to do.

SEMPREVIVO You know, l don’t have any details, but I think that, I think that you need
to be accountable for what you did. So I don’t want to talk about this any
more because, you know, I think there were two separate things. And, we
used you and we donated. We donated as a charity, and it was a good
charity and we were excited we could help you and, you know, in terms
of, you know, how you do favors for people separately that’s, you know,
I-- we appreciate any help you gave us. But, you know, we used you in
terms of the, you know, in terms of your college stuff. We paid you well
for the, you know, for the Work you did there separately So, and we
appreciate it. So, I think that, you know, if you’re trying to turn something
around in terms of, you know, what you did and how you did it then I
don’t want to be, l don’t want to be a part of that.

X. GREGORY COLBURN and AMY COLBURN

498. Defendants GREGORY COLBURN and AMY COLBURN, a married couple
(together, “the COLBURNS”), are residents of Palo Alto, California. GREGORY COLBURN is
a physician

499. As set forth below, the COLBURNS participated in the college entrance exam
cheating scheme on behalf of their son.

500. Qn or about October 10, 2017, AMY COLBURN e-mailed CW-l that she was
still waiting to hear back about her son’s testing accommodation from the College Board. On or
about December 31, 2017, CW-l e-mailed AMY COLBURN an SAT admission ticket for the

COLBURNS’ son for an exam with extended time on March 10, 2018.

193

501. In or about mid-December 2017, GREGORY COLBURN initiated a transfer of
stock to KWF with a value of $24,443.50. On or about December 30, 2017, GREGORY
COLBURN issued a check in the amount of $547.45 to KWF. In the memo line of the check,
GREGORY COLBURN wrote “charitable donation.”

502. On or about December 29, 2017, KWF issued a letter to GREGORY COLBURN
falsely indicating that “no goods or services were exchanged” for his purported donation of
$25,000.

503. On or about February l, 2018, Dvorskiy submitted paperwork to the College
Board to change the location of the March 10 test site from the COLBURNS’ son’s high school
in Palo Alto to the West Hollywood Test Center.

504. On or about March'9, 2018, CW-2 flew from Tampa to Los Angeles. On or about
March 10, 2018, the COLBURNS’ son took the SAT at the West Hollywood 'l`est Center with
CW-2 as the purported proctor. CW-2 returned to Tampa on or about March 11, 2018,

505. CW-l caused KWF to issue payments of $20,000 each to Dvorskiy, on or about
March 14, 2018, and to CW-2, on or about March 23, 2018, for their roles in executing the SAT
cheating scheme for the COLBURNS’ son and another student who took the exam that same
day.

506. On or about October 24, 2018, CW-l called the COLBURNS at the direction of
law enforcement agents and told them the IRS was auditing KWF. Initially, CW-l spoke only

with AMY COLBURN. The following is an excerpt from the call, which was consensually

recorded.

CW-l Okay. So, so, you know, essentially, they asked me about your payments
for [your son] taking the test, with [CW-2] at [the West Hollywood Test
Center].

194

A. COLBURN

CW-l

A. COLBURN

CW-l

A. COLBURN

Okay. Is that a problem?

No. So I just, I just want t -- of course, I’m not going to mention to the
IRS that [CW-2] took the test for [your son].

Mm-hmm.

So, so what I’ve stated to the IRS, [is] that your payment went to our
foundation to help underserved kids.

Okay.

507. AMY COLBURN then put GREGORY COLBURN on the phone. The following

is an excerpt from the conversation

CW-l

G. COLBURN

CW-l

G. COLBURN
CW-l
G. COLBURN
CW-l

G. COLBURN
CW-l

G. COLBURN

CW-l

So what I’m telling the IRS is that-- I’m not-- well, let me say this. What
I’m not telling the IRS is that [your son]-- that [CW-2] [inaudible] took
the test for [your son] at [the West Hollywood Test Center].

No, I got that. Yes. No, l got that,

All right But what I am telling them is that your payment essentially went
to our foundation to help underserved kids.

Right. Okay.

So I just want to make sure that our stories --
Yes.

--are aligned.

Yes. I said that no goods and services Were exchanged for this. Yeah. I, I,
I-- that’s correct.

Okay. All right. So that’s really what I wanted to make sure, was that
we’re both on the same page.

Good.

Excuse me. And just in case they were to call you, I just wanted to--
because I’ve already told them that, you know, this-- essentially, this
payment was madeto our foundation in lieu of`, but we both know that,
[CW-2] took the test for [your son]. But l just wanted to make sure that we
don’t-- we’re all on the same page.

195

G. COLBURN Right. lt was to help underserved kids.
CW-l Correct.
G. COLBURN Got it. No problem.

Y. ROBERT FLAXMAN

508. Defendant ROBERT FLAXMAN is a resident of Beverly Hills, California.
FLAXMAN is the president and CEO of a Los Angeles-based real estate development firm.

509. As set forth below, in or about 2016,- FLAXMAN participated in both the college
recruitment scheme and the college entrance exam scheme.

510. On or about October 25, 2015, CW-l e-mailed FLAXMAN’s son’s ACT scores
and transcript to Martin Fox, who forwarded the materials to a varsity coach at the University of
San Diego (“USD”). On or about October 26, 2015, CW-l e-mailed FLAXMAN that he “spoke
to USD and they received [your son’s] info. They are interested in helping.”

511. On or about November 2, 2015, FLAXMAN e-mailed CW-l asking for an update
on the status of his son’s admission to USD. CW-l replied: “The coach I am working with has
not gotten his scheduled appointment with Admissions for all of his recruitable athletes. He is
on board to help and has [your son’s] materials I am sure I will receive a call on next steps
soon” On or about November 12, 2015, a USD admissions counselor e-mailed the varsity coach
a memorandum giving the coach approval to sign FLAXMAN’s son to the coach’s team.

512. On or about November 16, 2015, CW-l e-mailed FLAXMAN and his son. The
subject line of the e-mail was: “Here is what l came up With that touches on a lot of who you are
and what I put on your application.” The essay, and the application ultimately submitted to
USD, referenced FLAXMAN’s son’s purported volunteer work as the manager of an elite youth

athletic team. Prior essay drafts contained no references to that sport.

196

513. USD formally admitted FLAXMAN’s son on or about March 7, 2016.

514. On or about April 22, 2016, a KWF employee e-mailed FLAXMAN an invoice in
the amount of $250,000. The cover e-mail described the invoice as a “courtesy reminder of the
pledge made to [KWF].” On or about May 9, 2016, the KWF employee e-mailed FLAXMAN
again: “Hi Bob, We have some obligations that we must meet. When can we count on your
payment?” FLAXMAN replied that he “Was supposed to receive [a] revised request that
included 501(0)3 info for tax purposes. I would like to make two payments. One now and one
end of June.”

515. FLAXMAN’s company wired two payments of $125,000 each to KWF on or
about May13, 2016 and June 23, 2016.

516. On or about June 6, 2016, CW~l caused KWF to issue a payment of 8100,000 to
Fox. Fox advised CW-l that he, in turn, paid the USD coach for facilitating FLAXMAN’s son’s
admission

517. In or about April 2016, FLAXMAN’s daughter took the ACT and received a
score of 20 out of a possible 36. On or about September 12, 2016, FLAXMAN e-mailed CW-l
that his daughter took the “ACT this weekend and thought she did better than the last time. She
actually finished the exam.” FLAXMAN’s daughter received a score of 24 on the September
teSt.

518. On or about October 4, 2016, CW-l e-mailed FLAXMAN that his contact at ACT
“has the paperwork and will put [your daughter] into [the Houston Test Center] for Oct.”
FLAXMAN replied: “Ok. I will need details soon. Address. Who and where to check in and

what instructions we need to give [my daughter] to use at the test.” On or about October 6, 2016,

197

CW-l e-mailed FLAXMAN the address of the Houston Test Center and contact information for
Niki Williams, the test center administrator.

519. On or about October 15, 2016, CW-l directed a KWF employee to send invoices
to FLAXMAN and another client in the amount of $75,000 each. CW-l further instructed the
employee to send $50,000 to Fox and $20,000 to CW-2. CW-l has advised law enforcement
agents that the payments were for Fox’s facilitation of CW-l ’s relationship with Williams, as
well as for CW-2’s purported proctoring of the exam for FLAXMAN’s daughter and the child of
CW-l ’s other client.

520. On or about October 20, 2016, FLAXMAN’s company wired $75,000 to KWF. _
On or about October 21, 2016, a KWF employee sent FLAXMAN a letter falsely attesting that
“no goods or services were exchanged” for the purported contribution

521. CW-2 flew from Tampa to Houston on or about October 21, 2016. On or about
October 22, 2016, FLAXMAN’s daughter and the child of another client of CW-l both took the
ACT at the Houston lest Center. CW-2 has advised investigators that he assisted FLAXMAN’s
daughter and the other student to answer questions on the exam, and instructed them to answer
different questions incorrectly so that they did not have the same incorrect answers on their tests,
and the ACT would therefore not suspect cheating. CW-2 returned to Tampa the next day.

b 522. FLAXMAN’s daughter received a score of 28 on the ACT exam.

523. On or about October 23, 2018, CW-l called FLAXMAN at the direction of law
enforcement agents and told him that KWF Was being audited by the IRS. The following is an
excerpt from the call, which was consensually recorded.

CW-l Okay-- so our-- so our books show there was a $25 0,000 payment for

[your son’s] side door into USD, through [the USD varsity coach] and [the
varsity sport]--

198

FLAXMAN Yeah.

CW-l --and there was a 75K payment for [CW-2] to take--

FLAXMAN Yeah.

CW-l ' --the standardized testing, SAT, ACT, with [your daughter].
FLAXMAN Yeah.

CW-l Okay. So we’re both on the same page.

FLAXMAN An-an-and the-- the reason for the payments is what?

CW-l The reason for the payments were to, essentially-- We won’t say that it

went to pay for [your son] to get into USD, We’ll say that the payments
were made to our foundation to help kids-- underserved kids.

FLAXMAN Okay. That’s fine.
Z. HOMAYOUN ZADEH

524. Defendant HOMAYOUN ZADEH is a resident of Calabasas, California.
ZADEH is an associate professor of dentistry.

525. As set forth below, ZADEH conspired to bribe Heinel to designate his daughter as
a lacrosse recruit_despite the fact that she did not play lacrosse competitively-thereby
facilitating her admission to USC.

526. In an e-mail on or about December 8, 2016, ZADEH instructed his daughter’s
tutor to forward his daughter’s “unofficial transcripts and SAT scores” to CW-l. The tutor sent
the materials to CW-l, Who forwarded them to Janke, writing, “Picture to follow for USC.”

527. In an e-mail on or about December 16, 2016, ZADEH provided CW-l with a
photograph of his daughter cheerleading. CW-l forwarded the photograph to Janke, writing,
“Laura any way to build the profile for [éADEH’s daughter] playing lacrosse - I told Donna

[Heinel] it would come soon.”

199

528. Janke created a lacrosse profile for ZADEH’s daughter, and CW-l forwarded the
profile to Heinel on or about December 23, 2016. The profile falsely described ZADEH’s
daughter as being an elite player on two club lacrosse teams in the Los Angeles area. Heinel
then created a separate lacrosse profile for ZADEH’s daughter, on USC letterhead, which falsely
stated that ZADEH’s daughter was “one of the top defenders within the youth club development
league,” and Was a “player who knows how to work as a team in order to win,” and included
fabricated comments that Heinel included to appear as though they were from the USC lacrosse
coach.

529. Heinel presented ZADEH’s daughter to the USC subcommittee for athletic
admissions as a purported lacrosse recruit on or about March 15, 2017.

530. In a lengthy text message exchange that began on or about March 20, 2017,
ZADEH discussed the admission of his daughter to USC with CW-l. In the conversation CW-l
requested that ZADEH confirm that his daughter would attend USC. CW-l told ZADEH that he
“must act quickly.” ZADEH replied that his daughter had become “extremely upset as to why I
am pressuring her to make a decision on the spot.” ZADEH wanted “a little time so that [he
could] approach [his] daughter in a way that is more conducive. I really appreciate what you
have done.” CW-l responded: “I can ask tomorrow but my guess is the answer will be no. Since
the funds have been transmitted I need to cover myself`. If they say no then I need to pull the
trigger then.” ZADEH replied that his daughter was concerned that “she did not get in on her
v own merits. I have not shared anything about our arrangement but she somehow senses it. She’s
concerned that others may view her differently.” CW-l and ZADEH then had the following
exchange:

ZADEH I Will go with our arrangement However I don’t have $100k of cash. You
had previously told me that half was now to USC and I was going to put

200

CW-l

on card and you said half Wa[s] in the fall. ln our phone conversation you
mentioned that I can pay you over 6 months. If so. I can provide you each
month a check

Thank you for your response . .. as for payment- the money will be
deposited in the next day or two. My foundation sent the money as
requested.22 Normally the first 50k is sent immediately after acceptance
and before the final letter is received. Then the next portion is sent soon
after the final letter is provided. Since both are happening on top of each
other I sent the monies to my contact as a donation so there is no conflict
internally because you are designated as a giver through another
department but that was not the group who helped. The group helping
wants the credit and funds so it is cleaner through me. Yes I agree that you
can make the 100k payment over the next 6 months starting April lst. You
can send to my foundation as a donation/write off or if you have your own
company we can invoice you as a business consulting fee from our profit
business and you write off as an expense. If you want to complete the
transaction by credit card that is fine too. l just need you to designate,
which path do you want to be invoiced. Please let me know? Final
acceptance will come in the next 10 days or so.

ZADEH responded that he would consult with his CPA “to see which path is preferable.”

On or about April 5, 2017, a KWF employee e-mailed an invoice to ZADEH and

his spouse for their purported “pledge” of 8100,000, noting that the payments would “be made in

six equal installments beginning immediately.” ZADEH’s spouse replied to the e-mail, copying

ZADEH, and stated that she and ZADEH were “in the process of reflnancing our house to take

some of the equity out in order to make these payments.” She continued that “April is a difficult

month between property taxes and personal taxes,” and offered to put $5,000 on her credit card

because she did not want CW-l “to think We are not fulfilling our end of the agreement.”

 

22 USC records reflect that KWF made a $50,000 contribution to the Women’s Athletics Board
on or about March 27, 2017.

201

532. On or about October 5, 2017, ZADEH’s spouse e-mailed the KWF employee,
copying ZADEH, that the refinancing had been completed, but noting that “Homa should have
never agreed to pay you back in 6 months.”

533. Between May 30, 2017 and September 7, 2018, ZADEH made the following

 

 

 

 

 

 

 

 

 

payments to KWF:
Date Posted to KWF Amount

Account

5/30/2017 $5,000
9/25/2017 $10,000
10/23/2017 $10,000
12/27/2017 $10,000
2/15/2018 $5,000
3/26/2018 $5,000
4/27/2018 $5,000
9/7/2018 $5,000

 

 

 

 

534. On or about December 27, 2017, KWF issued a letter to ZADEH and his spouse

falsely attesting that “no goods or services were exchanged” for their donations.23

535. In a call on or about October 25, 2018, CW-l, at the direction of law enforcement
agents, told ZADEH that KWF was being audited by the IRS. The following is an excerpt from

the call, which was consensually recorded.

CW-l So my foundation is being audited now, which is typical of all the
foundations which have lots-- lots of action

ZADEH Sure. Sure.

CW-l And so what l wanted to make sure is that when [inaudible] they asked

about your guys’ payment--

zADEH Right.

 

23 On_ or about March 6, 2019, ZADEH’s spouse e-mailed CW-l , copying ZADEH,
noting that she had sent an additional $5,000 to KWF. ZADEH’s spouse asked for a tax receipt
for the $25,000 that was “donated in 2018.”

202

CW-l

ZADEH
CW- 1
ZADEH
CW- l
ZADEH
C\lV'-l
ZADEH
CW-l
ZADEH

CW-l

ZADEH
CW- l
ZADEH
CW- 1
ZADEH

--so l just want to make sure that obviously I’m not going to tell the IRS
that we got [your daughter] in through--

Right.

--lacrosse--

Right.

--and Donna Heinel at USC.

Right.

Right?

Right.

And, you know, we created a profile that wasn’t real.

Right.

Right? For lacrosse. l just Want to make sure that we’re on the same page
that we’re not going to say that. What we are going to say is that your
donation is going to my foundation Which essentially--

Yeah.

--is helping underserved kids.

Right.

You good with that?

Okay, yeah.

203

CONCLUSION
536. Based on my knowledge, training and experience, and the facts set forth in this
affidavit, l respectfully submit that there is probable cause to believe that the defendants
conspired to commit mail fraud and honest services mail fraud, in violation of Title 18, United
States Code, Section 1349.

Respectfully submitted,

Laura Smith
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me
on March 11“‘, 2019

D.i

The Honofable M
United States Ma

   
 

204

